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                            EXHIBIT 33
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                                                                                             38 EM 2024

            IN THE SUPREME COURT OF PENNSYLVANIA
                        No. 177 EAL 2024



  REUBEN BALZAN, COURT-APPOINTED LIQUIDATOR OF GEDEN
                    HOLDINGS, LTD

                                     Petitioner

GEDEN HOLDINGS, LTD; ADVANTAGE TANKERS, LLC; ADVANTAGE
     AWARD SHIPPING LLC and ECLIPSE LIQUIDITY, INC.

                                   Respondents



PETITION OF REUBEN BALZAN ON BEHALF OF PETITIONER GEDEN
 HOLDINGS, LTD. IN LIQUIDATION FOR THE COURT TO EXERCISE
             JURISDICTION UNDER 42 PA. C.S. 726



    George A. Gaitas                                          Jonathan M. Chalos
   Gaitas & Chalos, P.C.                                     Gaitas & Chalos, P.C
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                             Hardin Thomson, P.C.
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                            Philadelphia, PA 19109
                                (267) 459-8366




                                          1
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      Reuben Balzan (hereinafter “Petitioner”), court-appointed liquidator of the

Maltese company Geden Holdings, Ltd., with registration number C 30351, in

liquidation by Order of the First Civil Court of Valletta Malta in case No.

810/2016MC issued on the 15th day of June 2017, appearing by and through duly

authorized counsel, respectfully petitions this Honorable Court to exercise its

extraordinary jurisdiction under 42 Pa. C.S. 726 in the matter arising out of the

following facts.

      Petitioner is also the petitioner in the respective Petitions for Allowance to

Appeal the respective orders of the Superior Court in cases with Docket Numbers

No. 176 EAL 2024, and No. 177 EAL 2024. The Defendant-Respondents named in

the said Petitions filed their Answers thereto on June 10, 2024. For greater certainty,

copies of the said answers are hereto attached as EXHIBIT A and are hereinafter

referred to collectively as the “Answers.”

      With their Answers, the Defendant-Respondents, in addressing Petitioner’s

assignment of error in the reasoning of the Superior Court’s dismissal of Petitioner’s

Appeals, also put forth statements whereby they falsely represented and / or

insinuated Petitioner’s counsels’ unprofessional conduct in representing one of the

unpaid creditors of Geden Holdings, Ltd., and the Petitioner, i.e. the liquidator of the

estate of Geden Holdings, Ltd. See Exhibit A at their respective fn. 1. In actual fact,

undersigned counsel have been instructed by Petitioner and also have a signed
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waiver of conflict, with full disclosure, accepted by Petitioner and undersigned

counsel’s other client, the unpaid creditor, expressly providing that in the event any

conflict whatsoever arises between the Petitioner and creditor, undersigned counsel

will “withdraw as counsel for [Petitioner] upon its demand, giving it sufficient time

to arrange its own independent representation in the proceedings.” A copy of

Petitioner’s engagement by the Petitioner liquidator is attached hereto as Exhibit B.

A copy of the disclosure and conflict waiver with regard to Petitioner and the

creditor, Eclipse Liquidity, Inc., is hereto attached as Exhibit C, p. 2.

      Moreover, in the same respective footnote, the Answers filed insinuate that

counsel representing the Petitioner are not authorized to represent the Petitioner in

perfecting an appeal. This is absolutely incorrect as is shown in document hereto

attached as Exhibit B and C. It is quite interesting to note in this regard, that the

attorneys who signed the respective Answers have signed same as attorneys of

Advantage Tankers, LLC, Advantage Award, LLC, Gulsun Nazli Karamehmet-

Williams, and Courtney Brian Williams. Conspicuous with its absence from the

signature block of both answers is the name of Geden Holdings, Ltd., the party they

claimed to have represented for years in this litigation, even though Geden Holdings,

Ltd. was in liquidation and the attorneys had absolutely no authority to act for Geden

Holdings, Ltd. (emphasis added). Predictably, these same attorneys have failed,



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refused and/or neglected to produce a shred of evidence that they were authorized or

entitled to act for Geden Holdings, Ltd. in this litigation.

      Indeed, it is of the essence of the very arguments made in the Answers that

Geden Holdings, Ltd. does not have standing to pursue an appeal by and through its

lawful court-appointed liquidator, because Geden Holdings is the prevailing party

and has no standing to appeal. Petitioner questions how can the same law firm –

Cozen O’Connor – appear in the same cases as attorneys acting for Geden Holdings,

Ltd. and as attorneys acting against Geden Holdings, Ltd.?

      However, these irregularities in the Answers filed by Cozen O’Connor pale in

comparison to the contents of their June 13, 2024 letter addressed to the law firms

that represent Petitioner, i.e. Geden Holdings’ liquidator. A copy of this letter is

hereto attached as Exhibit D, together with an enclosure it contained, hereto attached

as Exhibit E. The letter of Cozen O’Oconnor, which they have styled a “Dragonetti

letter”, is aimed at inducing the law firms representing Petitioner to abandon his

Petition and stop pursuing an appeal on behalf of Geden Holdings, Ltd. In relevant

part, Cozen O’Connor’s “Dragonetti letter” states:

      You have not disputed our detailed recitation of your malicious
      litigation campaign or otherwise responded to our letter. And yet you
      continue to press on with—and expand—the frivolous litigation. After
      the Superior Court sua sponte dismissed your appeals on behalf of
      Geden (by Mr. Balzan) from orders that did not aggrieve Geden, and
      promptly denied reconsideration of those dismissals, you filed petitions

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      for allowance of appeal with the Pennsylvania Supreme Court. But
      those petitions were facially defective and the Prothonotary’s Office
      issued defect notices the same day. (Separately, we remain baffled as
      to how, consistent with the Rules of Professional Conduct, you believe
      you can simultaneously represent both plaintiff and a defendant that
      plaintiff has sued and asserted claims against in the same case.)
See Exhibit D.
      The attempt to intimidate Petitioner’s counsel from pursuing the insolvent

company’s appellate remedies is transparent on the face of Cozen O’Connor’s

“Dragonetti letter.” What further aggravates this is that the very issue in the orders

appealed from is the evident lack of any authority whatsoever on Cozen O’Connor’s

part to act on behalf of Geden Holdings, Ltd. Nevertheless, in the Answers they

filed, Cozen O’Connor indirectly represents to the Court the contrary. Indeed, they

tout the Court of Common Pleas dismissal orders they obtained in favor or Geden

Holdings, Ltd as proof that Geden Holdings, as a prevailing party, is not entitled to

appeal. However, it should be underscored that the “Dragonetti letter” is not even

addressed to the liquidator or Geden Holdings, Ltd., (the liquidator that is the one

actually pursuing its lawful rights) nor does it threaten to hold Geden Holdings. Ltd

liable under Dragonetti. Instead, it is aimed squarely at undersigned counsel as a

blatant intimidation tactic.

      It is this attempt to intimidate Petitioner’s counsel with threats of civil liability

suits so that they will be cowed into dropping all appeals and acquiesce into a legally

incorrect and factually unsustainable result that brings this application within the


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purview of 42 Pa. C. S. § 726. An attorney’s obligation to prove its asserted authority

to represent a client is supported by long standing precedent of the Supreme Court.

E.g. Gliwa v. United States Steel Corp., 322 Pa. 225, 228; 185 A. 584, 586 (1936);

In re Cochran, 361 Pa. 577, 582, 65 A.2d 390, 393 (1949). Failing to provide such

proof and making threats against the attorneys of Petitioner under state statute (42

Pa.C.S.A. §§ 8351-8354) aimed at obscuring, obfuscating and obstructing the way

to the resolution of this fundamental issue involves “an issue of immediate public

importance” that needs to be addressed. On the face of the Answers they have

authored, Cozen O’Connor urge the Court to adopt as a principle of law a legal

contradiction, and this cannot stand.

      Undersigned counsel has conclusively proved their authority to represent

Petitioner, now Petitioner demands that Cozen O’Connor prove their authority to act

on behalf of Geden Holdings, Ltd. in this litigation.

                                  CONCLUSION

      For the foregoing and hat might be added, as the Rules and the Court might

require, Petitioner respectfully requests the Court to assume plenary jurisdiction over

this matter and enter a final order or otherwise cause right and justice to be done.

Date: June 21, 2024                           HARDIN THOMPSON, PC



                                        By:   /s/ Michael F. Schleigh, Esq.
                                              Michael F. Schleigh, Esq.

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                                     E-mail: mschleigh@hardinlawpc.net

                                          -and-

                                     GAITAS & CHALOS P.C.

                                     /s/ George A. Gaitas___
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                                     (Admitted Pro Hac Vice)




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                                                                                            177 EAL 2024

             IN THE SUPREME COURT OF PENNSYLVANIA

                                 No. 177 EAL 2024

                           ECLIPSE LIQUIDITY, INC.,
                              Plaintiff/Respondent,

                                      v.
                            GEDEN HOLDINGS, LTD.,
                              Defendant/Petitioner,

                           -and-
   GULSUN NAZLI KARAMEHMET-WILLIAMS, COURTNEY BRIAN
  WILLIAMS, ADVANTAGE TANKERS, LLC, and ADVANTAGE AWARD
                      SHIPPING, LLC,
                   Defendants/Respondents.

 Petition of: Reuban Balzan, court-appointed liquidator of Geden Holdings, Ltd.

    ANSWER OF ADVANTAGE TANKERS, LLC, ADVANTAGE
AWARD SHIPPING, LLC, GULSUN NAZLI KARAMEHMET-WILLIAMS,
             AND COURTNEY BRIAN WILLIAMS
         TO PETITION FOR ALLOWANCE OF APPEAL

     Petition for Allowance of Appeal from the May 9, 2024 Order Denying
Reargument of the April 26, 2024 Order of the Superior Court, No. 590 EDA 2024,
                                Quashing Appeal

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Nazli Karamehmet-Williams; and Courtney Brian Williams
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I.      PRELIMINARY STATEMENT

       The Court should deny the nearly identical petitions for allowance of appeal

filed by Reuben Balzan in Nos. 176 and 177 EAL 2024. In dismissing the appeals

of Mr. Balzan, purported liquidator of Geden Holdings, Ltd. (“Geden”), the

Superior Court correctly applied the well-settled law that a prevailing party is not

aggrieved by—and does not have standing to appeal from—an Order entered in its

favor. Geden (by Mr. Balzan) advances no reason whatsoever as to how its

petitions present any of the “special and important reasons” that warrant this Court

exercising its “sound judicial discretion” to allow appeal, Pa. R.A.P. 1114(a); nor

do the petitions even make passing reference to the Court’s standards governing

allowance of appeal. Pa. R.A.P. 1114. Allowance of appeal should be denied.

II.     CONCISE COUNTER-STATEMENT OF THE CASE

       In Eclipse Liquidity, Inc. v. Geden Holdings, Ltd., No. 200300816, Phila.

C.P., plaintiff Eclipse Liquidity, Inc. sued three defendants: (1) Geden;

(2) Advantage Tankers, LLC (“Advantage Tankers”); and (3) Advantage Award

Shipping, LLC (“Advantage Award”). On motion of the defendants for summary

judgment, the Trial Court dismissed all claims for lack of subject matter

jurisdiction. (January 22, 2024 Order and Opinion, attached to Appeal Opinion,

Appendix C to Petition.)
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      In a later-filed but related case, Eclipse Liquidity, Inc. v. Geden Holdings,

Ltd., No. 230602605, Phila. C.P., the same plaintiff—Eclipse Liquidity—sued the

same three corporate defendants: (1) Geden; (2) Advantage Tankers; and

(3) Advantage Award. Eclipse Liquidity also sued two additional individual

defendants: (4) Gulsun Nazli Karamehmet-Williams; and (5) Courtney Brian

Williams. On preliminary objections of the defendants, the Trial Court dismissed

one count (for abuse of process) with prejudice and dismissed the balance of the

claims without prejudice for lack of subject matter jurisdiction and lack of personal

jurisdiction over all of the defendants. (January 22, 2024 Order, Appendix B to

Petition.) The Trial Court further denied as moot Eclipse Liquidity’s miscellaneous

motion for evidence of authority to represent Geden. (Id.)

      Four appeals were taken from the two related Common Pleas cases:

(1) plaintiff Eclipse Liquidity, represented by Hardin Thompson, PC and Gaitas &

Chalos, PC, appealed the Trial Court’s entry of summary judgment in the first case

[No. 586 EDA 2024], and sustaining of preliminary objections in the second case

[No. 589 EDA 2024]; and (2) defendant Geden (by Mr. Balzan), now represented

by the same two firms that represent the plaintiff,1 also appealed both cases [Nos.


1
  Hardin Thompson, PC and Gaitas & Chalos, PC have not articulated how,
consistent with the Rules of Professional Conduct, they believe they can
simultaneously represent both (i) plaintiff, and (ii) a defendant that plaintiff has
sued and asserted claims against in the same case. Additionally, George A. Gaitas
and Jonathan M. Chalos of Gaitas & Chalos, PC were admitted pro hac vice in the

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587 & 590 EDA 2024]. After issuing rules to show cause, the Superior Court

dismissed the two appeals of Geden (by Mr. Balzan), holding that “Geden is a

prevailing party, and Appellant lacks standing to appeal the order entered in

Geden’s favor.” (April 26, 2024 Order, Appendix D to Petition.)2 The two appeals

of Eclipse Liquidity—in which it, acting through the same counsel, raises the same

issues as Geden (by Mr. Balzan)—remain pending, with opening briefs due July

15, 2024 and August 5, 2024, respectively.

III.     CONCISE STATEMENT OF REASONS FOR DENYING
         ALLOWANCE OF APPEAL

        There is no reason for this Court to grant allowance of appeal here because

settled law holds that a prevailing party is not aggrieved by, and cannot appeal

from, an order entered in its favor. Geden was a prevailing party in both cases at

the Trial Court level. In the first case, the Trial Court dismissed without prejudice

all claims against Geden for lack of subject matter jurisdiction. And in the second




Trial Court as counsel for plaintiff Eclipse Liquidity. Although identified as
counsel on and signing papers as counsel for defendant Geden (by Mr. Balzan),
Mr. Gaitas and Mr. Chalos have never moved for or been granted admission pro
hac vice as counsel for defendant Geden (by Mr. Balzan). As the trial court stated
in its Appeal Opinion (Appendix C to Petition): “This court’s dockets in these
cases do not show any entry of appearance by plaintiff’s counsel stating that he
now represents defendant Geden Holdings, Ltd. or the liquidator thereof.” (Appeal
Opinion at 2 n.2.)
2
 The Superior Court denied reargument of the Orders dismissing the appeals.
(May 9, 2024 Order, Exhibit E to Petition.)


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case, the Trial Court dismissed the abuse of process claim against Geden with

prejudice and dismissed the remainder of the claims against Geden without

prejudice for lack of subject matter jurisdiction. Therefore, Geden was the

prevailing party below.

      It is black-letter law announced by this Court that “as the prevailing party,

[Geden (by Mr. Balzan)] had no standing to appeal.” United Parcel Service, Inc. v.

Pennsylvania Public Utility Comm’n, 830 A.2d 941, 948 (Pa. 2003). That is

because a prevailing party is not aggrieved by an order in its favor, and “only an

aggrieved party can appeal from an order entered by the lower court.” Com. v.

Polo, 759 A.2d 372, 374 n.1 (Pa. 2000). Indeed, “[a]lthough a prevailing party may

disagree with the legal reasoning of an order of a court or agency or may have an

issue or issues decided against it or may disagree with a factual finding, or may

disagree with dicta in a trial court opinion, it lacks standing to appeal such an order

in light of the fact that it is not adversely affected by the court or agency order.” G.

Ronald Darlington, et al., Pennsylvania Appellate Practice § 501:3 (footnotes

omitted, collecting cases).

      Simply put, judgment was entered in Geden’s favor in both cases, and the

appellate courts “review not reasons but judgments.” Com. v. Chisebwe, 310 A.3d

262, 272 (Pa. 2024) (quoting Hader v. Coplay Cement Mfg. Co., 189 A.2d 271,

274 (Pa. 1963) (“The only error upon the record is a wrong reason for a right



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judgment; but as we review not reasons but judgments, we find nothing here to

correct.”)). Geden (by Mr. Balzan) may now assert some (unarticulated)

disagreement with some legal reasoning of the Trial Court, a particular finding, or

a statement in dicta. However, as a prevailing party, it is not aggrieved and has no

standing to appeal. The Court should deny allowance of appeal.

IV.     CONCLUSION

       For these reasons, the Court should deny allowance of appeal.

                                         Respectfully submitted,
Dated: June 10, 2024
                                         COZEN O’CONNOR

                                         By:    /s/ Jared D. Bayer
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                                         Neil Quartaro (admitted pro hac vice)
                                         Nathan Larkin (329524)
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                                         Williams; and Courtney Brian Williams




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                     CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the provisions of the Case Records

Public Access Policy of the Unified Judicial System of Pennsylvania that require

filing confidential information and documents differently than non-confidential

information and documents.

                                            /s/ Jared D. Bayer
                                           Jared D. Bayer
                                           COZEN O’CONNOR

                                           Attorneys for Advantage Tankers,
                                           LLC; Advantage Award Shipping,
                                           LLC; Gulsun Nazli Karamehmet-
                                           Williams; and Courtney Brian
                                           Williams
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                       STATEMENT OF COMPLIANCE

      I hereby certify that this Answer to Petition for Allowance of Appeal is in

compliance with Rule of Appellate Procedure 1116(c), and does not exceed 9,000

words, exclusive of tables and appendices. According to the word count feature of

the word processing software used to prepare this Answer, it contains 1,084 words.




                                             /s/ Jared D. Bayer




Dated: June 10, 2024
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                                                                                            176 EAL 2024

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                                 No. 176 EAL 2024

                           ECLIPSE LIQUIDITY, INC.,
                              Plaintiff/Respondent,

                                      v.
                            GEDEN HOLDINGS, LTD.,
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     Petition for Allowance of Appeal from the May 9, 2024 Order Denying
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                                Quashing Appeal

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by the same two firms that represent the plaintiff,1 also appealed both cases [Nos.


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587 & 590 EDA 2024]. After issuing rules to show cause, the Superior Court

dismissed the two appeals of Geden (by Mr. Balzan), holding that “Geden is a

prevailing party, and Appellant lacks standing to appeal the order entered in

Geden’s favor.” (April 26, 2024 Order, Appendix D to Petition.)2 The two appeals

of Eclipse Liquidity—in which it, acting through the same counsel, raises the same

issues as Geden (by Mr. Balzan)—remain pending, with opening briefs due July

15, 2024 and August 5, 2024, respectively.

III.     CONCISE STATEMENT OF REASONS FOR DENYING
         ALLOWANCE OF APPEAL

        There is no reason for this Court to grant allowance of appeal here because

settled law holds that a prevailing party is not aggrieved by, and cannot appeal

from, an order entered in its favor. Geden was a prevailing party in both cases at

the Trial Court level. In the first case, the Trial Court dismissed without prejudice

all claims against Geden for lack of subject matter jurisdiction. And in the second




Trial Court as counsel for plaintiff Eclipse Liquidity. Although identified as
counsel on and signing papers as counsel for defendant Geden (by Mr. Balzan),
Mr. Gaitas and Mr. Chalos have never moved for or been granted admission pro
hac vice as counsel for defendant Geden (by Mr. Balzan). As the trial court stated
in its Appeal Opinion (Appendix C to Petition): “This court’s dockets in these
cases do not show any entry of appearance by plaintiff’s counsel stating that he
now represents defendant Geden Holdings, Ltd. or the liquidator thereof.” (Appeal
Opinion at 2 n.2.)
2
 The Superior Court denied reargument of the Orders dismissing the appeals.
(May 9, 2024 Order, Exhibit E to Petition.)


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case, the Trial Court dismissed the abuse of process claim against Geden with

prejudice and dismissed the remainder of the claims against Geden without

prejudice for lack of subject matter jurisdiction. Therefore, Geden was the

prevailing party below.

      It is black-letter law announced by this Court that “as the prevailing party,

[Geden (by Mr. Balzan)] had no standing to appeal.” United Parcel Service, Inc. v.

Pennsylvania Public Utility Comm’n, 830 A.2d 941, 948 (Pa. 2003). That is

because a prevailing party is not aggrieved by an order in its favor, and “only an

aggrieved party can appeal from an order entered by the lower court.” Com. v.

Polo, 759 A.2d 372, 374 n.1 (Pa. 2000). Indeed, “[a]lthough a prevailing party may

disagree with the legal reasoning of an order of a court or agency or may have an

issue or issues decided against it or may disagree with a factual finding, or may

disagree with dicta in a trial court opinion, it lacks standing to appeal such an order

in light of the fact that it is not adversely affected by the court or agency order.” G.

Ronald Darlington, et al., Pennsylvania Appellate Practice § 501:3 (footnotes

omitted, collecting cases).

      Simply put, judgment was entered in Geden’s favor in both cases, and the

appellate courts “review not reasons but judgments.” Com. v. Chisebwe, 310 A.3d

262, 272 (Pa. 2024) (quoting Hader v. Coplay Cement Mfg. Co., 189 A.2d 271,

274 (Pa. 1963) (“The only error upon the record is a wrong reason for a right



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judgment; but as we review not reasons but judgments, we find nothing here to

correct.”)). Geden (by Mr. Balzan) may now assert some (unarticulated)

disagreement with some legal reasoning of the Trial Court, a particular finding, or

a statement in dicta. However, as a prevailing party, it is not aggrieved and has no

standing to appeal. The Court should deny allowance of appeal.

IV.     CONCLUSION

       For these reasons, the Court should deny allowance of appeal.

                                         Respectfully submitted,
Dated: June 10, 2024
                                         COZEN O’CONNOR

                                         By:    /s/ Jared D. Bayer
                                         Jared D. Bayer (201211)
                                         Neil Quartaro (admitted pro hac vice)
                                         Nathan Larkin (329524)
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                                         1650 Market Street, 28th Floor
                                         Philadelphia, PA 19103
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                                         Advantage Award Shipping, LLC




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                     CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the provisions of the Case Records

Public Access Policy of the Unified Judicial System of Pennsylvania that require

filing confidential information and documents differently than non-confidential

information and documents.

                                            /s/ Jared D. Bayer
                                           Jared D. Bayer
                                           COZEN O’CONNOR

                                           Attorneys for Advantage Tankers,
                                           LLC and Advantage Award Shipping,
                                           LLC
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                       STATEMENT OF COMPLIANCE

      I hereby certify that this Answer to Petition for Allowance of Appeal is in

compliance with Rule of Appellate Procedure 1116(c), and does not exceed 9,000

words, exclusive of tables and appendices. According to the word count feature of

the word processing software used to prepare this Answer, it contains 1,084 words.




                                             /s/ Jared D. Bayer




Dated: June 10, 2024
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                    EXHIBIT B
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                    EXHIBIT D
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June 13, 2024                                                                      Jared D. Bayer
                                                                                   Direct Phone 215-665-4127
                                                                                   Direct Fax   215-701-2427
VIA FEDEX AND E-MAIL                                                               jbayer@cozen.com

                                                                                   Neil Quartaro
                                                                                   Direct Phone 212-453-3934
                                                                                   Direct Fax   646-588-1576
                                                                                   nquartaro@cozen.com
Michael F. Schleigh
Hardin Thompson, PC
123 S. Broad St., Suite 2235
Philadelphia, PA 19109

George A. Gaitas
Jonathan M. Chalos
Gaitas & Chalos P.C.
1908 N. Memorial Way
Houston, Texas 77007

Re:    Eclipse Liquidity, Inc. v. Geden Holdings Ltd, et al., Court of Common Pleas,
       Philadelphia County, Pennsylvania, Nos. 200300816, 230602605

Dear Counsel:

We wrote to you on May 10, 2024 to demand that you and your client withdraw with prejudice the
pending appeals in these frivolous cases and cease and desist from any further litigation—in any
tribunal—against the Advantage companies and the Williamses, and to put you on notice that the
Advantage companies and the Williamses will hold you, your firms, and your client liable for your
frivolous, abusive, and harassing litigation practices if you fail to cease and desist.

You have not disputed our detailed recitation of your malicious litigation campaign or otherwise
responded to our letter. And yet you continue to press on with—and expand—the frivolous
litigation. After the Superior Court sua sponte dismissed your appeals on behalf of Geden (by Mr.
Balzan) from orders that did not aggrieve Geden, and promptly denied reconsideration of those
dismissals, you filed petitions for allowance of appeal with the Pennsylvania Supreme Court. But
those petitions were facially defective and the Prothonotary’s Office issued defect notices the
same day. (Separately, we remain baffled as to how, consistent with the Rules of Professional
Conduct, you believe you can simultaneously represent both plaintiff and a defendant that plaintiff
has sued and asserted claims against in the same case.)

Based on your persistence in continuing, and indeed expanding, frivolous litigation after being put
on notice of the claims of the Advantage companies and the Williamses, we expect that your
abusive litigation campaign will continue and require our clients to pursue their remedies against
you and your client. Our clients’ abuse of process claims have accrued and continue to accrue,
and our clients do not intend to allow the statute of limitations to run on those claims until their
Dragonetti claims ripen too. Enclosed is a tolling agreement—if you agree to and execute the
tolling agreement by June 21, 2024, 5:00pm EDT, we will have our clients counter-sign and our



                    One Liberty Place   1650 Market Street   Suite 2800   Philadelphia, PA 19103
                         215.665.2000      800.523.2900      215.665.2013 Fax   cozen.com
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Michael F. Schleigh
George A. Gaitas
Jonathan M. Chalos
June 13, 2024
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______________________________________

clients will defer filing suit for now in reliance on the tolling agreement. If you do not execute the
tolling agreement by June 21, 2024, 5:00pm EDT, our clients intend to file a writ of summons to
preserve the statute of limitations. If you will force us to take that action, please advise whether
you will accept service of the writ. We will otherwise have it served as original process.

Our clients reserve all rights and waive none.

Sincerely,

COZEN O'CONNOR




By:    Jared D. Bayer
       Neil Quartaro
       Nathan J. Larkin
       Robert S. Clark
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                    EXHIBIT E
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                                    TOLLING AGREEMENT

        This Tolling Agreement ( “Agreement”) is by and between: (1) Michael F. Schleigh, Esquire;
Hardin Thompson, PC; George A. Gaitas, Esquire; Jonathan M. Chalos, Esquire; Gaitas & Chalos
P.C.; and Eclipse Liquidity, Inc. (“Eclipse Parties”), on the one hand; and (2) Advantage Tankers,
LLC; Advantage Award Shipping, LLC; Gulsun Nazli Karahmemet-Williams; and Courtney
Bryan Williams (“Advantage Parties,” and together with the Eclipse Parties, the “Parties”), on the
other hand, together with their respective affiliates, predecessors, successors, and assigns and all
other persons or entities acting on their behalf or under their control.

        WHEREAS, the Advantage Parties allege that the Eclipse Parties have maliciously pursued
frivolous litigation and abused civil process against the Advantage Parties by commencing, continuing,
and otherwise pursuing litigation against the Advantage Parties in Eclipse Liquidity, Inc. v. Advantage
Tankers LLC, Phila. C.P., No. 200300816, and Eclipse Liquidity, Inc. v. Geden Holdings Limited, Phila.
C.P. No. 230602605; and

         WHEREAS, the Parties desire to suspend any applicable statutes of limitations or other time-
based defenses (the “Limitations Defenses”) as to any claims that may be brought by the Advantage
Parties against the Eclipse Parties;

       NOW, THEREFORE, in consideration of the mutual promises, covenants,
representations, and warranties contained in this Agreement, and for other good and valuable
consideration, the sufficiency of which is hereby acknowledged, the Parties agree as follows:

 1.    Tolling Period. Any Limitations Defenses relating to any and all claims that may be
brought by one or more of the Advantage Parties against one or more of the Eclipse Parties (the
“Potential Claims”) shall be tolled for the time period beginning June 21, 2024 until 60 days
following the Termination Date, as defined below (the “Tolling Period”).

 2.     Termination. This Agreement may be terminated by any Party at any time by providing
30 days advance written notice of termination to all other parties by email and US mail to the notice
party at the address listed in Paragraph 6 below. The “Termination Date” shall be the date 30 days
after written notice of termination is given. Notice shall be deemed given on the date that written
notice is emailed and postmarked or the later of the two if email and US mail are not sent on the
same date.

 3.     No Limitations Defenses Based on Tolling Period. In the event that one or more of the
Advantage Parties asserts a Potential Claim, the Eclipse Parties agree not to assert or rely upon the
Tolling Period or passage of time during the Tolling Period as a legal, equitable, or other defense
to the Potential Claims.




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 4.    No Waiver of Preexisting Limitations Defense. Nothing in this Agreement shall be
construed as precluding the Eclipse Parties from asserting a defense, response, or claim of
untimeliness as to any Potential Claim, provided that the Eclipse Parties shall not, in asserting
such a defense, response, or claim, rely on the passage of time during the Tolling Period.

 5.     No Admission of Liability. This Agreement does not constitute, and shall not be construed
to be, an admission of liability by the Eclipse Parties as to any potential claim.

6.     Notice Addresses. Notice to the Parties shall be delivered to:

 Advantage Parties                                  Eclipse Parties
 c/o Cozen O’Connor
 Attn: Neil Quartaro
 3 WTC, 175 Greenwich Street, 55th Floor
 New York, NY 10007
 nquartaro@cozen.com

 --and--

 c/o Cozen O’Connor
 Attn: Jared D. Bayer
 Nathan J. Larkin
 Robert S. Clark
 One Liberty Place
 1650 Market Street, Suite 2800
 Philadelphia, PA 19103
 jbayer@cozen.com
 nlarkin@cozen.com
 robertclark@cozen.com

7.      Binding Effect. This Agreement shall be binding upon, and inure to the benefit of, the Parties
and any respective corporate affiliates, predecessors, successors, members, officers, directors, and
assigns.

8.      Entire Agreement. This Agreement constitutes the entire agreement between the Parties
regarding the subject matter herein, and supersedes and replaces all prior and contemporaneous
oral and written agreements, negotiations and discussions. The Parties acknowledge that they have
not, nor has any agent or attorney of the Parties, made any promise, representation or warranty
whatsoever, express or implied, not contained herein, concerning or relating to the Claim or the
Action, to induce any other Party to execute this Agreement, and each Party acknowledges
that they have not executed this Agreement in reliance on any such promise, representation or
warranty not contained herein.




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9.     Quantity and Gender. Whenever in this Agreement the context may so require, the
masculine, feminine and neutral gender shall be each deemed to include the other, and the
singular and plural each to refer to the other.

10.    Headings and Recitals. The headings in this Agreement are used for the purpose of
convenience only and are not meant to have legal effect. The recitals in this Agreement shall not be
construed to limit in any way the generality of this Agreement’s provisions, notwithstanding any
canon of contractual interpretation to the contrary.

11.    Governing Law. The Parties agree that this Agreement shall be governed by and
construed according to Pennsylvania law without regard to conflict of laws principles.

12.    Interpretation. This Agreement shall not be construed for or against any Party as a result
of who drafted it.

13.      Counterparts. This Agreement may be signed in counterparts by the Parties hereto and when
each of the Parties has executed an identical copy of this Agreement, this Agreement shall become
a binding and enforceable instrument with the same force and effect as if the Parties hereto had
executed the same copy of this instrument. Additionally, a facsimile or scanned signature shall have
the full force and same legal effect of an original signature.

14.     No Modification. This Agreement may be modified or amended only by mutual agreement
in writing referring to this Agreement and signed by the Parties.

15.    Intention to Be Bound. The Parties to this Agreement intend to be legally bound hereby.

               [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




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The undersigned, on behalf of the Parties hereto, represent and warrant that each is duly authorized
and has full authority to sign and bind the respective Parties.

I HAVE READ AND UNDERSTOOD THIS ENTIRE AGREEMENT AND AGREE TO ITS
TERMS AND CONDITIONS.

Michael F. Schleigh

_______________________________
(Signature)

_______________________________
(Date)


Hardin Thompson, PC

_______________________________
(Signature)

_______________________________
(Print Name)

_______________________________
(Title)

_______________________________
(Date)


George A. Gaitas

_______________________________
(Signature)

_______________________________
(Date)


Jonathan M. Chalos

_______________________________
(Signature)

_______________________________
(Date)



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Gaitas & Chalos, P.C.

_______________________________
(Signature)

_______________________________
(Print Name)

_______________________________
(Title)

_______________________________
(Date)


Eclipse Liquidity, Inc.

_______________________________
(Signature)

_______________________________
(Print Name)

_______________________________
(Title)

_______________________________
(Date)




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Advantage Tankers, LLC

_______________________________
(Signature)

_______________________________
(Print Name)

_______________________________
(Title)

_______________________________
(Date)


Advantage Award Shipping, LLC

_______________________________
(Signature)

_______________________________
(Print Name)

_______________________________
(Title)

_______________________________
(Date)

Gulsun Nazli Karahmemet-Williams

_______________________________
(Signature)

_______________________________
(Date)


Courtney Bryan Williams

_______________________________
(Signature)

_______________________________
(Date)




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